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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

IN RE: MOVEIT CUSTOMER DATA
SECURITY BREACH LITIGATION
______________________________________
                                                      MDL No. 1:23-md-03083-ADB-PGL
This Document Relates To:

All Cases



                  PLAINTIFFS’ UNOPPOSED MOTION FOR EXTENSION RE
                          INITIAL PROPOSED CASE SCHEDULE

         Pursuant to MDL Order No. 9, Plaintiffs’ Lead Counsel and Liaison and Coordinating

Counsel (together, “Plaintiffs’ Leadership Team”) hereby jointly request a two-week extension,

until February 16, 2024, for the purposes of narrowing our differences as to the initial proposed

case schedule required by MDL Order No. 9. Plaintiffs’ Leadership Team have conferred with

the Defense Liaison Committee who, in turn, have conferred with the broader set of defendants

and no defendant has voiced objection.

         The parties have exchanged scheduling proposals and conferred on multiple calls.

Additional conferences have been set for the coming week. The parties believe that granting the

requested extension will allow them to present the Court with either a joint scheduling proposal

or, in any event, reduce the areas of disagreement.

         For clarity, the parties intend to provide the remaining submissions required by MDL

Order No. 9, including a proposed schedule for regular status conferences and a proposed agenda

for the first status conference, by tomorrow, February 2, 2024.


DATED this 1st day of February, 2024.          Respectfully submitted,

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                            LOCAL RULE 7.1 CERTIFICATION

       Plaintiffs’ Leadership Team has met and conferred with the Defense Liaison Committee,

who, in turn, have conferred with the broader set of defendants concerning scheduling proposals

and the extension sought herein. Our understanding is that no defendant has voiced objection to

the request for extension presented herein.



                                CERTIFICATE OF SERVICE

       I hereby certify that, on this date, the foregoing document was filed electronically via the

Court’s CM/ECF system, which will send notice of the filing to all counsel of record.



Dated: February 1, 2024                                      /s/ Kristen A. Johnson

                                                     Kristen A. Johnson (BBO# 667261)
